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Stephen Stern

From:                           Stephen Stern
Sent:                           Wednesday, August 14, 2019 6:00PM
To:                             Ken Kayser; Ronald Earley; ctravlr@comcast.net
Cc:                             Douglas S. Draper (ddraper@hellerdraper.com); Leslie Collins; Robert R. Kracht
                                (rrk@mccarthylebit.com); 'Nicholas R. Oleski (nro@mccarthylebit.com)'
Subject:                        Tagnetics - Settlement Agreement
Attachments:                    Settlement Agreement and Mutual Releases (Kayser, Earley, and Hager)
                                (00073951-4xEC90E).docx; Agreed Order (Dismissing Case) (00075497xEC90E).docx



Ken, Ron, and Jon:

Attached is a draft of the settlement agreement to resolve the Tagnetics litigation. I also have attached a draft
agreed order to dismiss the case, consistent with what was discussed during the Status Conference last
week. Please review each carefully and let me know if you have any comments or questions. I will be out of
the office tomorrow (Thursday}, but I will be able to respond to em ails and I will have pockets of time where I
can take/make calls during the day.

I look forward to hearing from you.

Stephen

                  Stephen B. Stern, Esq.
                  stern@kaganstern.com

                 Kagan Stern Marinello & Beard, LLC
                 (410) 793-1610 (direct)
                 (410) 216-7900, ext. 1009
                 (410) 705-0836 (fax)
                 238 West Street
                 Annapolis, Maryland 21401
KAGAN            www.kaganstern.com

STERN




                                                                                                        EXHIBIT

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                SETTLEMENT AND MUTUAL GENERAL RELEASE AGREEMENT

            This SETTLEMENT AGREEMENT AND RELEASE (the "Agreement"), is entered
    into by and between TAGNETICS, INC. ("Tagnetics"), on the one hand, and KENNETH
    KAYSER ("Kayser"), RONALD EARLEY ("Earley"), and JONATHAN HAGER ("Hager") on
    the other hand. Each individual or entity entering into this Agreement may be referred to herein
    as a "Party" and, collectively, as the "Parties." In addition, Kayser, Earley, and Hager may be
    referred to herein collectively as the "Alleged Creditors.")

           WHEREAS, KVL, S-Tek, and Strain, along with Kayser, Earley, and Hager, along with
    Kayser Ventures, Ltd. ("KVL"), S-Tek, Inc. ("S-Tek"), and Robert Strain ("Strain"), filed an
    involuntary bankruptcy proceeding under Chapter 7 of the United States Bankruptcy Code
    against Tagnetics in the United States Bankruptcy Court for the Southern District of Ohio
    (Western Division at Dayton), alleging they are creditors of Tagnetics, in a case styled, In re
    Tagnetics, Case No. 19-30822 (hereinafter the "Bankruptcy Proceeding").

            WHEREAS, Tagnetics disputes the existence and/or amounts ofliability claimed by each
    of the alleged creditors in the Bankruptcy Proceeding, including specifically each of the Alleged
    Creditors that are Parties to this Agreement.

            WHEREAS, the Parties desire to avoid the greater expense and burden associated with
   litigating the Bankruptcy Proceeding and have decided to compromise and settle their disputes,
   claims, and potential claims.

          NOW, THEREFORE, in consideration of the promises, representations, covenants, and
   warranties contained herein, and other good and valuable consideration, the receipt and adequacy
   of which is acknowledged by each of the Parties, who intend to be legally bound by this
   Agreement, the Parties state and agree as follows:

           1.      Payments.

                    a.     Payment to Kayser. Tagnetics will pay or cause to be paid the following
   sums to Kayser on the following schedule: (1) $30,000.00 within three business days of this
   Agreement being fully executed by all the Parties (the "First Kayser Payment"); (2) $30,000.00
   within twelve months of this Agreement being fully executed by all the Parties (the "Second
   Kayser Payment"); (3) $30,000.00 within eighteen months of this Agreement being fully
   executed by all the Parties (the "Third Kayser Payment"); and (4) $61,582.00 within fifteen days
   of Tagnetics experiencing a Liquidity Event (the "Fourth Kayser Payment"). The First Kayser
   Payment, Second Kayser Payment, Third Kayser Payment, and Fourth Kayser Payment may be
   referred to collectively herein as the "Kayser Payments." All Kayser Payments shall be delivered
   (i) to P.O. Box 115, Catawaba, Virginia 24070, or (ii) by wire transfer to an account identified
   in writing by Kayser.

                 b.     Payment to Earley. Tagnetics will pay or cause to be paid the following
   sums to Earley on the following schedule: (1) $30,000.00 within three business days of this
   Agreement being fully executed by all the Parties (the "First Earley Payment"); (2) $30,000.00
   within twelve months of this Agreement being fully executed by all the Parties (the "Second
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   Earley Payment"); (3) $30,000.00 within eighteen months of this Agreement being fully
   executed by all the Parties (the "Third Earley Payment"); and (4) $96,980.00 within fifteen days
   of Tagnetics experiencing a Liquidity Event (the "Fourth Earley Payment"). The First Earley
   Payment, Second Earley Payment, Third Earley Payment, and Fourth Earley Payment may be
   referred to collectively herein as the "Earley Payments." All Earley Payments shall be delivered
   (i) to 6429 Winding Tree Drive, Carlisle, Ohio 45344, or (ii) by wire transfer to an account
   identified in writing by Earley.

                   c.      Payment to Hager. Tagnetics will pay or cause to be paid the following
   sums to Hager on the following schedule: (1) $30,000.00 within three business days of this
   Agreement being fully executed by all the Parties (the "First Hager Payment"); (2) $30,000.00
   within twelve months of this Agreement being fully executed by all the Parties (the "Second
   Hager Payment"); (3) $30,000.00 within eighteen months of this Agreement being fully executed
   by all the Parties (the "Third Hager Payment"); and (4) $58,144.00 within fifteen days of
   Tagnetics experiencing a Liquidity Event (the "Fourth Hager Payment"). The First Hager
   Payment, Second Hager Payment, Third Hager Payment, and Fourth Hager Payment may be
   referred to collectively herein as the "Hager Payments." All Hager Payments shall be delivered
   (i) to 2170 River Oaks Drive, Salem, Virginia 24153, or (ii) by wire transfer to an account
   identified in writing by Hager.

           2.     Definition of Liguidity Event. For purposes of this Agreement, the term
   "Liquidity Event" shall mean the following: (a) when one person or entity directly or indirectly
   becomes the beneficial owner of more than 50% of the outstanding securities of Tagnetics,
   provided that the one person or entity does not directly or indirectly own more than 50% of the
   outstanding securities of Tagnetics on the date that this Agreement becomes fully executed; (b)
   the consummation of a merger, sale, or consolidation ofTagnetics with/to another company; (c)
   a sale of substantially all of the assets of Tagnetics; or (d) completion of a plan to liquidate,
   dissolve, or wind up Tagnetics that was approved by Tagentics' shareholders or Board of
   Directors.

            3.     Voluntary Dismissal of Bankruptcy Proceeding. Kayser, Earley, and Hager shall
   withdraw their respective claims in the Bankruptcy Proceeding and dismiss the Bankruptcy
   Proceeding, with prejudice, upon receipt of their respective first payments as described in
   Section 1 of this Agreement. To this end, within one day (i.e., twenty-four hours) of receipt of
   their respective first payments (i.e., First Kayser Payment, Earley First Payment, and Hager First
   Payment), Kayser, Earley, and Hager shall execute the Agreed Order attached hereto as Exhibit
   A and return the fully executed Agreed Order to Stephen Stern as a .pdf file at
   stern@kaganstern.com, so that Stephen Stern or any person he designates in his sole discretion
   can submit the fully executed Agreed Order to the court that upon entry by the court shall result
   in the dismissal of the Bankruptcy Proceeding, with prejudice.

          4.      Kayser Releases. In exchange for the consideration described herein, Kenneth
   Kayser, on his own behalf and on behalf his heirs, successors, and assigns, as well as all corporate
   and operating affiliates and related entities in which Kenneth Kayser has a controlling interest,
   hereby releases and discharges Tagnetics, as well as its current and former parent companies,
   corporate and operating affiliates, subsidiaries, and related entities (including specifically


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    Compass Marketing, Inc.), as well as each of their current and former directors, officers,
    shareholders or other equity holders, agents, employees, accountants, attorneys, and insurers
    (collectively, the "Tagnetics Releasees"), from any and all causes of action, claims, debts, costs,
    liabilities, and demands arising from the beginning of time until the date of this Agreement,
    including, but not limited to, any and all causes of action, claims, debts, costs, liabilities, and
    demands arising out of or in any way relating to any investment, loan, ownership interest,
    employment relationship, contract, intellectual property, or any other relationship with Tagnetics
    (or any current or former parent companies, corporate and operating affiliates, subsidiaries, or
    related entities of Tagnetics, including specifically Compass Marketing, Inc.), whether known
    or unknown, by statute, contract, or otherwise, including, but not limited to, any claims for: (i)
    unpaid wages; (ii) unpaid notes or other loans, including unpaid interest; (iii) unpaid dividends,
    profits, or other distributions; (iv) unpaid royalties; (v) breach of contract regarding goods or
    services provided or rendered or equipment loaned to Tagnetics; (vi) breach of express or implied
    contract or unjust enrichment; (vii) breach of shareholder rights or interests; (viii) breach of one
    or more licensing agreements; (ix) fraud, breach of the covenant of good faith and fair dealing,
    or any other tort theory; (x) violation of any federal, state, or local law, regulation, or public
    policy; and (xi) any other claim that arises out of or in any way relates to Kayser's business,
    investment, ownership interest, employment, or other relationship with Tagnetics or any
    Tagnetics Releasees. Kayser understands that this is a GENERAL RELEASE.

            5.      Earley Releases. In exchange for the consideration described herein, Ronald
   Earley, on his own behalf and on behalf his heirs, successors, and assigns, as well as all corporate
   and operating affiliates and related entities in which Ronald Earley has a controlling interest,
   hereby releases and discharges Tagnetics, as well as its current and former parent companies,
   corporate and operating affiliates, subsidiaries, and related entities (including specifically
   Compass Marketing, Inc.), as well as each of their current and former directors, officers,
   shareholders or other equity holders, agents, employees, accountants, attorneys, and insurers
   (collectively, the "Tagnetics Releasees"), from any and all causes of action, claims, debts, costs,
   liabilities, and demands arising from the beginning of time until the date of this Agreement,
   including, but not limited to, any and all causes of action, claims, debts, costs, liabilities, and
   demands arising out of or in any way relating to any investment, loan, ownership interest,
   employment relationship, contract, intellectual property, or any other relationship with Tagnetics
   (or any current or former parent companies, corporate and operating affiliates, subsidiaries, or
   related entities of Tagnetics, including specifically Compass Marketing, Inc.), whether known
   or unknown, by statute, contract, or otherwise, including, but not limited to, any claims for: (i)
   unpaid wages; (ii) unpaid notes or other loans, including unpaid interest; (iii) unpaid dividends,
   profits, or other distributions; (iv) unpaid royalties; (v) breach of contract regarding goods or
   services provided or rendered or equipment loaned to Tagnetics; (vi) breach of express or implied
   contract or unjust enrichment; (vii) breach of shareholder rights or interests; (viii) breach of one
   or more licensing agreements; (ix) fraud, breach of the covenant of good faith and fair dealing,
   or any other tort theory; (x) violation of any federal, state, or local law, regulation, or public
   policy; and (xi) any other claim that arises out of or in any way relates to Earley's business,
   investment, ownership interest, employment, or other relationship with Tagnetics or any
   Tagnetics Releasees. Earley understands that this is a GENERAL RELEASE.




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            6.      Hager Releases. In exchange for the consideration described herein, Jonathan
   Hager, on his own behalf and on behalf his heirs, successors, and assigns, as well as all corporate
   and operating affiliates and related entities in which Jonathan Hager has a controlling interest,
   hereby releases and discharges Tagnetics, as well as its current and former parent companies,
   corporate and operating affiliates, subsidiaries, and related entities (including specifically
   Compass Marketing, Inc.), as well as each of their current and former directors, officers,
   shareholders or other equity holders, agents, employees, accountants, attorneys, and insurers
   (collectively, the "Tagnetics Releasees"), from any and all causes of action, claims, debts, costs,
   liabilities, and demands arising from the beginning of time until the date of this Agreement,
   including, but not limited to, any and all causes of action, claims, debts, costs, liabilities, and
   demands arising out of or in any way relating to any investment, loan, ownership interest,
   employment relationship, contract, intellectual property, or any other relationship with Tagnetics
   (or any current or former parent companies, corporate and operating affiliates, subsidiaries, or
   related entities of Tagnetics, including specifically Compass Marketing, Inc.), whether known
   or unknown, by statute, contract, or otherwise, including, but not limited to, any claims for: (i)
   unpaid wages; (ii) unpaid notes or other loans, including unpaid interest; (iii) unpaid dividends,
   profits, or other distributions; (iv) unpaid royalties; (v) breach of contract regarding goods or
   services provided or rendered or equipment loaned to Tagnetics; (vi) breach of express or implied
   contract or unjust enrichment; (vii) breach of shareholder rights or interests; (viii) breach of one
   or more licensing agreements; (ix) fraud, breach of the covenant of good faith and fair dealing,
   or any other tort theory; (x) violation of any federal, state, or local law, regulation, or public
   policy; and (xi) any other claim that arises out of or in any way relates to Hager's business,
   investment, ownership interest, employment, or other relationship with Tagnetics or any
   Tagnetics Releasees. Hager understands that this is a GENERAL RELEASE.

           7.      Tagnetics Releases. In exchange for the consideration described herein,
   Tagnetics, Inc., on its own behalf and on behalf of its current and former parent companies,
   corporate and operating affiliates, subsidiaries, and related entities, as well as each of their
   current and former directors, officers, shareholders or other equity holders, agents, employees,
   accountants, attorneys, and insurers, hereby releases and discharges Kayser, Earley, and Hager,
   from any and all causes of action, claims, debts, costs, liabilities, and demands arising from the
   beginning of time until the date of tbis Agreement, including, but not limited to, any and all
   causes of action, claims, debts, costs, liabilities, and demands arising out of or in any way relating
   to any investment, loan, ownership interest, employment relationship, contract, intellectual
   property, or any other relationship with Tagnetics (or any current or former parent companies,
   corporate and operating affiliates, subsidiaries, or related entities of Tagnetics, including
   specifically Compass Marketing, Inc.), whether known or unknown, by statute, contract, or
   otherwise, including, but not limited to, any claims for: (i) breach of employment contract; (ii)
   breach of express or implied contract or unjust enrichment; (iii) fraud, breach of the covenant of
   good faith and fair dealing, or any other tort theory; (iv) violation of any federal, state or local
   law, regulation or public policy; and (v) any other claim that arises out of or in any way relates
   to Kayser's, Earley's, or Hager's business, investment, ownership interest, employment, or other
   relationship with Tagnetics or any Tagnetics Releasees. Tagnetics understands that this is a
   GENERAL RELEASE.




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            8.       Ownership of Rights Released/Dismissed. The Parties each represent and
    warrant that they own and have not sold, assigned, or otherwise transferred any of the rights,
    interests, or claims they are releasing in connection with this Agreement.

             9.     Tax Liability. To the extent that any of the payments to Kayser, Earley, or Hager
    reflect the payment of wages, Kayser, Earley, and Hager each acknowledge that they are solely
    responsible for the payment of any taxes to any taxing authority arising out of or related to the
    payment of such wages, and Kayser, Earley, and Hager further agree to defend, indemnify, and
    hold harmless Tagnetics against any claims, including any litigation or government
    investigations, airing out of or related to the payment or lack of payment for said taxes.

             10.     Prior Agreements. As of the date of this Agreement, to the extent that Tagnetics
    is in default or has otherwise breached any agreement it has entered into with any of the Alleged
    Creditors, such default or breach is waived and released in accordance with the terms of this
    Agreement and Tagnetics' only remaining obligations under such agreements are set forth in this
    Agreement. In addition, all licenses under any agreements between the Alleged Creditors and
    Tagentics are current and remain in full force and effect, and Tagnetics' only remaining
    obligations under such agreements are set forth in this Agreement.

            11.    Successors and Assigns. The rights and obligations under this Agreement shall
    inure to the benefit of and be binding on the heirs, successors, and assigns of the Parties.

           12.     Voidable Agreement. In the event that Kayser, Earley, and/or Hager refuses or
   otherwise fails to execute the Agreed Order as prescribed in Section 3 above, Tagnetics, in its
   sole discretion, may declare this Agreement null and void. In the event that Tagnetics declares
   this Agreement null and void, within five (5) business days of receiving written notice that the
   Agreement has been declared null and void, Kayser, Earley, and Hager each shall return to
   Tagnetics' counsel (Stephen Stern of Kagan Stern, 238 West Street, Annapolis, Maryland
   21401), in a check made payable to Tagnetics, Inc., the sum said Party received as a First
   Payment pursuant to Section 1 of this Agreement (i.e., $30,000.00), and the corresponding
   releases reflected in Sections 4, 5, 6, and 7 of this Agreement shall be deemed null and void, and
   Tagnetics shall no longer have any obligation to make any other payments to Kayser, Earley, or
   Hager pursuant to the terms of this Agreement.

           13.    Severance of Unenforceable Provisions. If any provision of this Agreement is
   declared void, illegal, or otherwise unenforceable by a court of competent jurisdiction (i.e., not
   pursuant to Section 12 above), said provision (even if it only constitutes a phrase or words that
   do not comprise an entire sentence or paragraph) shall be deemed and hereby is severed from
   this Agreement, and the remaining terms and provisions of this Agreement shall remain in full
   force and effect and enforced to the fullest extent permitted by applicable law.

           14.    Co-Authors and Assistance of Counsel. Each Party has entered into this
   Agreement after conferring with its own counsel or having had the opportunity to confer with its
   own counsel and has signed this Agreement as an act of its own free will. All Parties are deemed
   to have had sufficient input in drafting this Agreement such that any ambiguity that may exist in
   this Agreement shall not be construed against one Party as the principal drafter. Kayser, Earley,

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    and Hager each acknowledge that they have been advised on multiple occasions by Tagnetics'
    counsel to seek legal counsel of their own.

            15.  No Amendment. This Agreement may not be amended or modified except in a
    written document signed by each Party.

             16.    Bankruptcy Determination. The parties acknowledge that any funds paid by
    Tagnetics to Kayser, Earley, and Hager, may be treated as a preference payment in this case or
    a later filed bankruptcy case. In the event any such payment is deemed a preference payment,
    the Party whose payment was treated as a preference payment may still file a claim in the
    Bankruptcy Proceeding or any subsequent bankruptcy proceeding to be a petitioning creditor,
    notwithstanding any language to the contrary herein.

           17.    Prevailing Party Status. None of the Parties shall be deemed a "prevailing party"
    in connection with any dispute between the Parties up to the date of this Agreement.

            18.    Waiver. No waiver of any provision of this Agreement shall be effective unless
    such waiver is set forth in writing and signed by a duly authorized representative of the Party
    against whom enforcement is sought. Any waiver of a breach of any provision of this Agreement
    shall not operate or be construed as a waiver of any subsequent breach of such provision or any
    other provision hereof.

            19.     Admissions. Nothing in this Agreement shall be construed, deemed, or otherwise
    treated as an admission by or against any of the Parties.

           20.    Governing Law. This Agreement shall be governed by the laws of the State of
   Ohio without giving effect to any choice of law or conflict of law provision or rule that would
   cause the law of any other jurisdiction to apply.




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            By their signatures below, the Parties hereto agree to and confirm that they are bound by
    the terms of this Agreement.


    TAGNETICS, INC.



    John White, CEO                              Date


    KENNETH KAYSER



    Kenneth Kayser, for himself                  Date


    RONALD EARLEY



    Ronald Earley, for himself                   Date


    JONATHAN HAGER



   Jonathan Hager, for himself                   Date




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